 Fill in this information to identify your case:

 Debtor 1
                     Bria A Nobles
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of Michigan District of __________
                                                                                                (State)
 Case number           24-43943
                     ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 0.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 29,560.28
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 29,560.28
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 32,000.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 200,300.26
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 232,300.26
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 3,474.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 3,914.78
                                                                                                                                                                            ________________




                   24-43943-tjt
Official Form 106Sum
                                               Doc 9 Filed 04/23/24 Entered 04/23/24 20:34:16 Page 1 of 43page 1 of 2
                                                 Summary of Your Assets and Liabilities and Certain Statistical Information
                  Bria Nobles                                                                                            24-43943
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        4,948.00
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                               0.00
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                   151,683.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                             151,683.00
                                                                                                           $_____________________




                  24-43943-tjt
    Official Form 106Sum
                                              Doc 9 Filed 04/23/24 Entered 04/23/24 20:34:16 Page 2 of 43page 2 of 2
                                                Summary of Your Assets and Liabilities and Certain Statistical Information
Fill in this information to identify your case and this filing:

                    Bria A Nobles
Debtor 1
                    First Name                Middle Name                 Last Name

Debtor 2
(Spouse, if filing)   First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: Eastern District of
Michigan
                                                                                                                                                                                                          Check if this is
Case number 24-43943                                                                                                                                                                                      an amended
(if know)
                                                                                                                                                                                                          filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                            12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
   3.1 Make:Ford                                                                 Who has an interest in the property? Check
                                                                                                                                                               Do not deduct secured claims or exemptions. Put the
                                                                                 one
            Model:Escape                                                                                                                                       amount of any secured claims onSchedule D:
                                                                                      Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
            Year:                           2022
                                                                                      Debtor 2 only
            Approximate mileage:                                                                                                                                 Current value of the Current value of the
                                                                                      Debtor 1 and Debtor 2 only                                                 entire property?     portion you own?
               Other information:
                                                                                      At least one of the debtors and another                                    $ 15,000.00                           $ 15,000.00
              Condition:Good;
                                                                                     Check if this is community property (see
                                                                                 instructions)

 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤            $ 15,000.00


Part 3:        Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                 portion you own?




                      24-43943-tjt                   Doc 9              Filed 04/23/24                        Entered 04/23/24 20:34:16                                        Page 3 of 43
                                                                                                                                                                                                                 page 1 of 6
Debtor 1         Bria A Nobles                                                                                         Case number(if known) 24-43943
               First Name        Middle Name    Last Name




  6. Household goods and furnishings                                                                                                       Do not deduct secured
                                                                                                                                           claims or exemptions.
       Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe...

           Household Goods and Furnishings: Couch
                                                                                                                                            $ 4,500.00


  7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

            No
            Yes. Describe...

           TV, computer,
                                                                                                                                            $ 3,500.00


  8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

            No
            Yes. Describe...
  9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                 and kayaks; carpentry tools; musical instruments

            No
            Yes. Describe...
  10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe...
  11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe...

           Everyday wearing apparel
                                                                                                                                            $ 2,000.00


  12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                 gold, silver

            No
            Yes. Describe...

           Jewelry
                                                                                                                                            $ 500.00


  13. Non-farm animals
       Examples: Dogs, cats, birds, horses

            No
            Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
            No
            Yes. Give specific information...



                   24-43943-tjt                Doc 9        Filed 04/23/24      Entered 04/23/24 20:34:16                       Page 4 of 43
                                                                                                                                                         page 2 of 6
Debtor 1         Bria A Nobles                                                                                                                                      Case number(if known) 24-43943
                First Name            Middle Name           Last Name




 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 10,500.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     PNC Bank                                                                                                                         $ 60.00

        17.2. Checking account:                                     USAA                                                                                                                             $ 243.70

        17.3. Checking account:                                     5th 3rd bank                                                                                                                     $ 0.00

        17.4. Other financial account:                              APPLE PAY                                                                                                                        $ 0.23

        17.5. Other financial account:                              Paypal                                                                                                                           $ 0.00

        17.6. Other financial account:                              Venmo                                                                                                                            $ 0.00

        17.7. Other financial account:                              Chime                                                                                                                            $ 0.00

        17.8. Other financial account:                              Money lion                                                                                                                       $ 0.00

        17.9. Other financial account:                              Dave                                                                                                                             $ 0.00

        17.10. Other financial account:                             Dasher Direct                                                                                                                    $ 0.00

        17.11. Other financial account:                             CashApp                                                                                                                          $ 0.00

        17.12. Savings account:                                     USAA                                                                                                                             $ 1,255.71

        17.13. Savings account:                                     PNC RESERVE                                                                                                                      $ 0.00

        17.14. Savings account:                                     PNC GROWTH                                                                                                                       $ 0.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........




                    24-43943-tjt                        Doc 9                Filed 04/23/24                           Entered 04/23/24 20:34:16                                     Page 5 of 43
                                                                                                                                                                                                                   page 3 of 6
Debtor 1          Bria A Nobles                                                                                       Case number(if known) 24-43943
                First Name          Middle Name     Last Name




  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately
       Type of account                      Institution name
       401(k) or similar plan:              401k                                                                                          $ 428.08
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

             No
             Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No
             Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
             Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
             No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...

           Potential 2024 tax refund - estimated and prorated                                                      Federal:              $ 667.00
                                                                                                                   State:                $ 0.00
                                                                                                                   Local:                $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....




                    24-43943-tjt                   Doc 9        Filed 04/23/24    Entered 04/23/24 20:34:16                    Page 6 of 43
                                                                                                                                                       page 4 of 6
Debtor 1          Bria A Nobles                                                                                                                                          Case number(if known) 24-43943
                First Name          Middle Name          Last Name




  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
        Company name:                                                                                                              Beneficiary:                                                    Surrender or
                                                                                                                                                                                                   refund value:
        AD & D, Basic & employee                                                                                                                                                                   $ Unknown
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....

           Potential preference for garnishments within 90 days of BK
                                                                                                                                                                                                     $ 1,405.56


  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤             $ 4,060.28


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:        If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

             No
             Yes. Give specific
            information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                           ................................................➤
                                                                                                                                                                                                                    $ 0.00




                    24-43943-tjt                     Doc 9              Filed 04/23/24                        Entered 04/23/24 20:34:16                                            Page 7 of 43
                                                                                                                                                                                                                   page 5 of 6
Debtor 1            Bria A Nobles                                                                                                                                        Case number(if known) 24-43943
                  First Name            Middle Name           Last Name




 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                            $ 0.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 15,000.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 10,500.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 4,060.28
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                     $ 29,560.28                       Copy personal property total➤   +$
                                                                                                                                                                                                      29,560.28
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                               $ 29,560.28




                       24-43943-tjt                       Doc 9                Filed 04/23/24                          Entered 04/23/24 20:34:16                                   Page 8 of 43
                                                                                                                                                                                                           page 6 of 6
 Fill in this information to identify your case:

                     Bria A Nobles
 Debtor 1          __________________________________________________________________
                     First Name                Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of Michigan District of __________
                                                                                     (State)
 Case number
  (If known)
                      24-43943
                     ___________________________________________                                                                                  Check if this is an
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                         4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
     
     ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own                         exemption you claim

                                                             Copy the value from                     Check only one box
                                                             Schedule A/B                            for each exemption
                 2022 Ford Escape                                                                                                   11 USC § 522(d)(2)
 Brief
 description:
                                                                     15,000.00
                                                                    $________________          
                                                                                               ✔ $ ____________
                                                                                                   0.00
                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:         3.1
                 Household Goods - Household Goods and                                                                              11 USC § 522(d)(3)
 Brief           Furnishings: Couch
 description:
                                                                      4,500.00
                                                                    $________________             4,500.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:          6
                 Electronics - TV, computer,                                                                                        11 USC § 522(d)(3)
 Brief
 description:                                                       $________________
                                                                      3,500.00                 
                                                                                               ✔ $ ____________
                                                                                                   3,500.00
                                                                                                100% of fair market value, up to
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

                   24-43943-tjt            Doc 9         Filed 04/23/24              Entered 04/23/24 20:34:16                      Page 9 of 43
Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                          3
                                                                                                                                                         page 1 of __
Debtor           Bria A Nobles
                _______________________________________________________                                                       24-43943
                                                                                                       Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                   Amount of the                        Specific laws that allow exemption
                                                                          Current value of the   exemption you claim
         on Schedule A/B that lists this property                         portion you own
                                                                         Copy the value from    Check only one box
                                                                          Schedule A/B           for each exemption
               Clothing - Everyday wearing apparel                                                                                     11 USC § 522(d)(3)
Brief
description:
                                                                           2,000.00
                                                                          $________________         2,000.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:         11
               Jewelry - Jewelry                                                                                                       11 USC § 522(d)(4)
Brief
description:                                                              $________________
                                                                           500.00                
                                                                                                 ✔ $ ____________
                                                                                                     500.00
                                                                                                  100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:        12
               PNC Bank (Checking Account)                                                                                             11 USC § 522(d)(5)
Brief
description:                                                              $________________
                                                                           60.00                 
                                                                                                 ✔ $ ____________
                                                                                                     60.00
                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:        17.1
               USAA (Checking Account)                                                                                                 11 USC § 522(d)(5)
Brief
description:
                                                                           243.70
                                                                          $________________         243.70
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:        17.2
               APPLE PAY (Other (Credit Union, Health Savings                                                                          11 USC § 522(d)(5)
Brief          Account, etc))
description:
                                                                           0.23
                                                                          $________________         0.23
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:         17.4
               Paypal (Other (Credit Union, Health Savings Account,                                                                    11 USC § 522(d)(5)
Brief
description:
               etc))                                                       0.00
                                                                          $________________         0.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:        17.5
               Venmo (Other (Credit Union, Health Savings Account,                                                                     11 USC § 522(d)(5)
Brief          etc))
description:
                                                                           0.00
                                                                          $________________         0.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:         17.6
               Chime (Other (Credit Union, Health Savings Account,                                                                     11 USC § 522(d)(5)
Brief          etc))
description:                                                              $________________
                                                                           0.00                  
                                                                                                 ✔ $ ____________
                                                                                                     0.00
                                                                                                  100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:        17.7
               Money lion (Other (Credit Union, Health Savings                                                                         11 USC § 522(d)(5)
Brief          Account, etc))
description:
                                                                           0.00
                                                                          $________________       $ ____________
                                                                                                 ✔   0.00
                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:         17.8
               Dave (Other (Credit Union, Health Savings Account, etc))                                                                11 USC § 522(d)(5)
Brief
description:
                                                                           0.00
                                                                          $________________       $ ____________
                                                                                                 ✔   0.00
                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:        17.9
               Dasher Direct (Other (Credit Union, Health Savings                                                                      11 USC § 522(d)(5)
Brief
description:
               Account, etc))
                                                                          $________________
                                                                           0.00                  
                                                                                                 ✔ $ ____________
                                                                                                     0.00
                                                                                                  100% of fair market value, up to
                                                                                                     any applicable statutory limit
Line from
Schedule A/B:        17.10
               USAA (Savings Account)                                                                                                  11 USC § 522(d)(5)
Brief
description:
                                                                           1,255.71
                                                                          $________________         1,255.71
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                            any applicable statutory limit
Schedule A/B:           17.12

                24-43943-tjt              Doc 9       Filed 04/23/24                Entered 04/23/24 20:34:16                         Page 10 of 43
 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     2      3
                                                                                                                                                       page ___ of __
Debtor           Bria A Nobles
                _______________________________________________________                                                      24-43943
                                                                                                      Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                   Amount of the                       Specific laws that allow exemption
                                                                          Current value of the   exemption you claim
         on Schedule A/B that lists this property                         portion you own
                                                                         Copy the value from    Check only one box
                                                                          Schedule A/B           for each exemption
               PNC RESERVE (Savings Account)                                                                                          11 USC § 522(d)(5)
Brief
description:
                                                                           0.00
                                                                          $________________         0.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:       17.13
               PNC GROWTH (Savings Account)                                                                                           11 USC § 522(d)(5)
Brief
description:                                                              $________________
                                                                           0.00                  
                                                                                                 ✔ $ ____________
                                                                                                     0.00
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:           17.14
               401k                                                                                                                   11 USC § 522(d)(12)
Brief
description:                                                              $________________
                                                                           428.08                
                                                                                                 ✔ $ ____________
                                                                                                     428.08
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:          21
               Potential 2024 tax refund - estimated and prorated (owed                                                               11 U.S.C. § 522 (d)(5)
Brief          to debtor)
description:
                                                                           667.00
                                                                          $________________         667.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:        28
               AD & D, Basic & employee                                                                                               11 USC § 522(d)(7)
Brief
description:
                                                                           Unknown
                                                                          $________________         0.00
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         31
               Potential preference for garnishments within 90 days of                                                                11 U.S.C. § 522 (d)(5)
Brief
description:
               BK (owed to debtor)                                         1,405.56
                                                                          $________________         1,405.56
                                                                                                 ✔ $ ____________

                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:           33

Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                              $________________       $ ____________
                                                                                                  100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:

                24-43943-tjt              Doc 9        Filed 04/23/24               Entered 04/23/24 20:34:16                        Page 11 of 43
 Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                        3   3
                                                                                                                                                       page ___ of __
  Fill in this information to identify your case:

  Debtor 1           Bria A Nobles
                     First Name                                    Last Name
                                             Middle Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name
                                                                        Last Name



  United States Bankruptcy Court for the: Eastern District of Michigan

  Case number 24-43943                                                                                                                                     Check if this is
  (if know)                                                                                                                                                an amended
                                                                                                                                                           filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:        List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A                   Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of                  Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not                   collateral that   portion If any
                                                                                                              deduct the value           supports this
                                                                                                              of collateral.             claim
 2.1                                                                 Describe the property that secures the claim: $ 32,000.00           $ 15,000.00       $ 17,000.00


        Ford Motor Credit Company
                                                                   2022 Ford Escape - $15,000.00
        Creditor’s Name
        PO Box 30201
        Number                                                     As of the date you file, the claim is: Check all
                     Street
        College Station TX                77842                    that apply.
        City                      State   ZIP Code                    Contingent
        Who owes the debt? Check one.                                 Unliquidated
          Debtor 1 only                                               Disputed
          Debtor 2 only
                                                                   Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                      An agreement you made (such as mortgage or
          At least one of the debtors and another                     secured car loan)
                                                                      Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                         Judgment lien from a lawsuit
                                                                      Other (including a right to offset)
        Date debt was incurred
                                                                   Last 4 digits of account number

       Add the dollar value of your entries in Column A on this page. Write that number here:                              $ 32,000.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




                     24-43943-tjt                    Doc 9         Filed 04/23/24              Entered 04/23/24 20:34:16                 Page 12 of 43
Official Form 106D                                                  Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
   Fill in this information to identify your case:

                   Bria A Nobles
   Debtor 1
                   First Name                                    Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing) First Name                  Middle Name
                                                                      Last Name



   United States Bankruptcy Court for the: Eastern District of Michigan

   Case number 24-43943                                                                                                                                   Check if this is
   (if know)                                                                                                                                              an amended
                                                                                                                                                          filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.

   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                               Total claim

  4.1                                                                        Last 4 digits of account number
         Afterpay                                                                                                                                                 $ 140.00
         Nonpriority Creditor's Name
                                                                             When was the debt incurred?

         101 California St                                                   As of the date you file, the claim is: Check all that apply.
         Number                                                                 Contingent
                       Street
         San Francisco CA               94111                                   Unliquidated
         City                   State   ZIP Code                                Disputed
         Who owes the debt? Check one.
             Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
             Debtor 2 only                                                     Student loans
             Debtor 1 and Debtor 2 only                                         Obligations arising out of a separation agreement or divorce
                                                                                that you did not report as priority claims
             At least one of the debtors and another                            Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community                         debts
             debt                                                              Other. Specify Credit Card Debt
         Is the claim subject to offset?
             No
             Yes




                   24-43943-tjt                    Doc 9         Filed 04/23/24               Entered 04/23/24 20:34:16                        Page 13 of 43
Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1 of 14
 Debtor           Bria A Nobles                                                                                             Case number(if known) 24-43943
                 First Name         Middle Name     Last Name




  4.2                                                                 Last 4 digits of account number
          Amazon Marketplace                                                                                                                                 $ 230.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          410 Terry Ave N                                             As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Seattle WA             98109                                   Unliquidated
          City        State      ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                 Last 4 digits of account number
          CAPITAL ONE                                                                                                                                        $ 792.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 6/18

          PO BOX 31293                                                As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          SALT LAKE CITY UT                   84131                      Unliquidated
          City                       State    ZIP Code                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another
                                                                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                 Last 4 digits of account number
          Commonwealth of Kentucky Department of                                                                                                             $ 484.26
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Revenue                                                     As of the date you file, the claim is: Check all that apply.
                                                                         Contingent
          501 High St,                                                   Unliquidated
          Number
                        Street                                           Disputed
          Frankfort KY             40601
                                                                      Type of NONPRIORITY unsecured claim:
          City           State     ZIP Code
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify Collections
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt                Doc 9         Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 14 of 43
Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 14
 Debtor           Bria A Nobles                                                                                             Case number(if known) 24-43943
                 First Name           Middle Name   Last Name




  4.5                                                                 Last 4 digits of account number
          Credit One Bank                                                                                                                                    $ 1,100.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          PO Box 98873                                                As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Las Vegas NV                89193                              Unliquidated
          City                State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                 Last 4 digits of account number 8039
          DEPTEDNELNET                                                                                                                                       $ 5,766.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 11/14

          PO BOX 82561                                                As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          LINCOLN NE                  68501                              Unliquidated
          City            State       ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another
                                                                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.7                                                                 Last 4 digits of account number 8139
          DEPTEDNELNET                                                                                                                                       $ 8,974.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred? 11/14

          PO BOX 82561                                                As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          LINCOLN NE                  68501                              Unliquidated
          City            State       ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt                  Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 15 of 43
Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 14
 Debtor           Bria A Nobles                                                                                         Case number(if known) 24-43943
                 First Name       Middle Name   Last Name




  4.8                                                             Last 4 digits of account number 8239
          DEPTEDNELNET                                                                                                                               $ 22,853.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 8/18

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.9                                                             Last 4 digits of account number 8339
          DEPTEDNELNET                                                                                                                                   $ 1,401.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 5/19

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.10 DEPTEDNELNET                                               Last 4 digits of account number 8439
                                                                                                                                                     $ 10,806.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 8/19

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt              Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 16 of 43
Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 14
 Debtor           Bria A Nobles                                                                                         Case number(if known) 24-43943
                 First Name       Middle Name   Last Name




  4.11 DEPTEDNELNET                                               Last 4 digits of account number 8539
                                                                                                                                                     $ 10,569.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 1/20

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.12 DEPTEDNELNET                                               Last 4 digits of account number 8639
                                                                                                                                                     $ 17,713.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 11/21

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.13 DEPTEDNELNET                                               Last 4 digits of account number 9939
                                                                                                                                                     $ 18,888.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 10/22

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt              Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 17 of 43
Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5 of 14
 Debtor           Bria A Nobles                                                                                         Case number(if known) 24-43943
                 First Name       Middle Name   Last Name




  4.14 DEPTEDNELNET                                               Last 4 digits of account number 8737
                                                                                                                                                     $ 14,437.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 10/23

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.15 DEPTEDNELNET                                               Last 4 digits of account number 7639
                                                                                                                                                         $ 9,524.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 9/12

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.16 DEPTEDNELNET                                               Last 4 digits of account number 7739
                                                                                                                                                         $ 1,052.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 1/13

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt              Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 18 of 43
Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 14
 Debtor           Bria A Nobles                                                                                         Case number(if known) 24-43943
                 First Name       Middle Name   Last Name




  4.17 DEPTEDNELNET                                               Last 4 digits of account number 7839
                                                                                                                                                         $ 4,771.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 8/13

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.18 DEPTEDNELNET                                               Last 4 digits of account number 7939
                                                                                                                                                         $ 7,665.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 8/13

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.19 DEPTEDNELNET                                               Last 4 digits of account number 7339
                                                                                                                                                         $ 3,623.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 12/11

          PO BOX 82561                                            As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          LINCOLN NE              68501                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt              Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 19 of 43
Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7 of 14
 Debtor           Bria A Nobles                                                                                           Case number(if known) 24-43943
                 First Name         Middle Name   Last Name




  4.20 DEPTEDNELNET                                                 Last 4 digits of account number 7439
                                                                                                                                                           $ 9,956.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 12/11

          PO BOX 82561                                              As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          LINCOLN NE               68501                               Unliquidated
          City            State    ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.21 DEPTEDNELNET                                                 Last 4 digits of account number 7539
                                                                                                                                                           $ 3,685.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 9/12

          PO BOX 82561                                              As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          LINCOLN NE               68501                               Unliquidated
          City            State    ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.22 Evergreen Loans                                              Last 4 digits of account number
                                                                                                                                                            $ 600.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          PO Box 231                                                As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          2640 Thorofare Road                                          Unliquidated
                                                                       Disputed
          Glidden WI              54527
                                                                    Type of NONPRIORITY unsecured claim:
          City         State      ZIP Code
          Who owes the debt? Check one.                               Student loans
              Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                               debts
              At least one of the debtors and another                 Other. Specify Monies Loaned / Advanced
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt                Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 20 of 43
Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 8 of 14
 Debtor           Bria A Nobles                                                                                               Case number(if known) 24-43943
                 First Name           Middle Name     Last Name




  4.23 FNWSE/OPPLNS                                                     Last 4 digits of account number 3840
                                                                                                                                                               $ 2,757.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 6/22

          130 EAST RANDOLPH STREET                                      As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          CHICAGO IL                  60601                                Unliquidated
          City                State   ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another
                                                                           Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify UNSECURED
          Is the claim subject to offset?
              No
              Yes

  4.24 Forest Health Medical Center                                     Last 4 digits of account number
                                                                                                                                                               $ 4,202.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          c/o Stuart Collis                                             As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          1851 Washtenaw Ave                                               Unliquidated
                                                                           Disputed
          Lansing MI              48917
                                                                        Type of NONPRIORITY unsecured claim:
          City         State      ZIP Code
          Who owes the debt? Check one.                                   Student loans
              Debtor 1 only                                                Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              Debtor 2 only
                                                                           Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                   debts
              At least one of the debtors and another                     Other. Specify Medical Services
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.25 LVNV FUNDING                                                     Last 4 digits of account number 3944
                                                                                                                                                                $ 595.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred? 4/23

          C/O RESURGENT CAPITAL SERVICES                                As of the date you file, the claim is: Check all that apply.
          Number                                                           Contingent
                        Street
          GREENVILLE SC                    29602                           Unliquidated
          City                    State    ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify WEBBANK(financial)
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt                    Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 21 of 43
Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9 of 14
 Debtor           Bria A Nobles                                                                                         Case number(if known) 24-43943
                 First Name       Middle Name   Last Name




  4.26 MIDLAND CRED                                               Last 4 digits of account number 9267
                                                                                                                                                          $ 861.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 3/23

          320 EAST BIG BEAVER                                     As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          TROY MI             48083                                  Unliquidated
          City      State     ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify CELTIC BANK(retail)
          Is the claim subject to offset?
              No
              Yes

  4.27 MIDLAND CRED                                               Last 4 digits of account number 2254
                                                                                                                                                          $ 387.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 4/23

          320 EAST BIG BEAVER                                     As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          TROY MI             48083                                  Unliquidated
          City      State     ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify COMENITY BANK(retail)
          Is the claim subject to offset?
              No
              Yes

  4.28 NATLCRSYS                                                  Last 4 digits of account number 6147
                                                                                                                                                         $ 3,476.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 1/23

          P.O. BOX 312125                                         As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          ATLANTA GA              31131                              Unliquidated
          City            State   ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify AUSTIN PARK CLAYAPTS(rentalOrLeasing)
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt              Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 22 of 43
Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 10 of 14
 Debtor           Bria A Nobles                                                                                                Case number(if known) 24-43943
                 First Name         Middle Name        Last Name




  4.29 NORDSTM/TD                                                        Last 4 digits of account number 4386
                                                                                                                                                                $ 1,936.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 2/19

          13531 E. CALEY AVE                                             As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          ENGLEWOOD CO                      80111                           Unliquidated
          City                    State     ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.30 One Detroit Credit Union                                          Last 4 digits of account number
                                                                                                                                                                $ 2,637.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          630 Howard Street                                              As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Detroit MI             48226                                      Unliquidated
          City       State       ZIP Code                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.31 Rausch Sturm                                                      Last 4 digits of account number
                                                                                                                                                                $ 2,225.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          250 N Sunnyslope Rd, Ste 300                                   As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Brookfield WI             53005                                   Unliquidated
          City            State     ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt                  Doc 9          Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 23 of 43
Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                                         page 11 of 14
 Debtor           Bria A Nobles                                                                                             Case number(if known) 24-43943
                 First Name           Middle Name   Last Name




  4.32 Shein                                                          Last 4 digits of account number
                                                                                                                                                                $ 52.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          757 S Alameda St                                            As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Los Angeles CA                90021                            Unliquidated
          City                State     ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.33 Southwest Credit                                               Last 4 digits of account number
                                                                                                                                                                $ 93.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          4120 International Pkwy Ste 1100                            As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          Carrollton TX             75007                                Unliquidated
          City            State     ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.34 State of Michigan-UIA                                          Last 4 digits of account number
                                                                                                                                                         $ 23,886.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          Department of Labor, etc.                                   As of the date you file, the claim is: Check all that apply.
          Number                                                         Contingent
                        Street
          3024 W Grand Blvd.                                             Unliquidated
                                                                         Disputed
          Detroit MI             48202
                                                                      Type of NONPRIORITY unsecured claim:
          City       State       ZIP Code
          Who owes the debt? Check one.                                 Student loans
              Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              Debtor 2 only
                                                                         Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                 debts
              At least one of the debtors and another                   Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




                      24-43943-tjt                  Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 24 of 43
Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12 of 14
 Debtor           Bria A Nobles                                                                                                Case number(if known) 24-43943
                 First Name        Middle Name         Last Name




  4.35 The Bank of Missouri Retail                                       Last 4 digits of account number
                                                                                                                                                                $ 1,500.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          440 Broadway St,                                               As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Cape Girardeau MO                 63701                           Unliquidated
          City                    State     ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.36 WebBank                                                           Last 4 digits of account number
                                                                                                                                                                 $ 664.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          PO Box 7084                                                    As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Boulder CO             80306                                      Unliquidated
          City         State     ZIP Code                                   Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                                    Total claim

   Total claims          6a. Domestic support obligations                                                 6a.   $ 0.00
   from Part 1
                         6b. Taxes and certain other debts you owe the                                    6b.   $ 0.00
                         government
                         6c. Claims for death or personal injury while you were                           6c.   $ 0.00
                             intoxicated
                         6d. Other. Add all other priority unsecured claims. Write that                   6d.   $ 0.00
                             amount here.
                         6e. Total. Add lines 6a through 6d.                                              6e.
                                                                                                                 $ 0.00




                      24-43943-tjt                  Doc 9          Filed 04/23/24          Entered 04/23/24 20:34:16                       Page 25 of 43
Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                                         page 13 of 14
 Debtor         Bria A Nobles                                                                                          Case number(if known) 24-43943
               First Name       Middle Name   Last Name




                                                                                                           Total claim

   Total claims        6f. Student loans                                                         6f.   $ 151,683.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                  6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                   6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that         6i.   $ 48,617.26
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                       6j.
                                                                                                        $ 200,300.26




                    24-43943-tjt              Doc 9       Filed 04/23/24          Entered 04/23/24 20:34:16                    Page 26 of 43
Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          page 14 of 14
  Fill in this information to identify your case:

  Debtor 1
                     Bria A Nobles
                      First Name                            Last Name
                                     Middle Name

  Debtor 2
  (Spouse, if filing) First Name          Middle Name
                                                                 Last Name



  United States Bankruptcy Court for the: Eastern District of Michigan

  Case number 24-43943                                                                                                          Check if this is
  (if know)                                                                                                                     an amended
                                                                                                                                filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).

 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




                     24-43943-tjt    Doc 9         Filed 04/23/24              Entered 04/23/24 20:34:16        Page 27 of 43
Official Form 106G                                      Schedule G: Executory Contracts and Unexpired Leases                             page 1 of 1
Fill in this information to identify your case:

Debtor 1
                Bria A Nobles
                     First Name                          Last Name
                                    Middle Name

Debtor 2
(Spouse, if filing) First Name           Middle Name
                                                              Last Name



United States Bankruptcy Court for the: Eastern District of Michigan

Case number 24-43943                                                                                                                 Check if this is
(if know)                                                                                                                            an amended
                                                                                                                                     filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                  12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:




                     24-43943-tjt      Doc 9           Filed 04/23/24           Entered 04/23/24 20:34:16             Page 28 of 43
Official Form 106H                                                    Schedule H: Your Codebtors                                              page 1 of 1
 Fill in this information to identify your case:

                      Bria A Nobles
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Eastern District of MichiganDistrict
                                                                                     tate)
 Case number            24-43943
                     ___________________________________________                                         Check if this is:
  (If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
                                                                                                            ________________
Official Form 106I                                                                                          MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                           ✔ Employed
    information about additional          Employment status                                                             Employed
    employers.                                                             Not employed                                 Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Family Advocate
                                          Occupation                     __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                          Wayne Metro Community
                                         Employer’s name
                                                                          Action Agency
                                                                        __________________________________             __________________________________


                                         Employer’s address                4671 Parker Street
                                                                        _______________________________________      ________________________________________
                                                                         Number Street                                Number    Street

                                                                        _______________________________________      ________________________________________

                                                                        _______________________________________      ________________________________________

                                                                           Dearborn Heights, MI 48125
                                                                        _______________________________________      ________________________________________
                                                                         City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________
                                                                   2 years                                             ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                       non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.             2.       4,640.00
                                                                                                   $___________          $____________

 3. Estimate and list monthly overtime pay.                                                  3.   + $___________
                                                                                                            0.00      + $____________

 4. Calculate gross income. Add line 2 + line 3.                                             4.       4,640.00
                                                                                                   $__________           $____________



                  24-43943-tjt         Doc 9         Filed 04/23/24                Entered 04/23/24 20:34:16                 Page 29 of 43
Official Form 106I                                                  Schedule I: Your Income                                                     page 1
Debtor 1
                 Bria A Nobles
                 _______________________________________________________                                                                         24-43943
                                                                                                                         Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.      4,640.00
                                                                                                                        $___________           $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.         874.20
                                                                                                                        $____________          $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.          46.40
                                                                                                                        $____________          $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________          $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________          $_____________
     5e. Insurance                                                                                               5e.          95.40
                                                                                                                        $____________          $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________          $_____________
                                                                                                                               0.00
                                                                                                                        $____________          $_____________
     5g. Union dues                                                                                              5g.
                                     FSA                                                                         5h. + $____________
     5h. Other deductions. Specify: __________________________________                                                      150.00          + $_____________
    _____________________________________________________________                                                       $____________          $____________
    _____________________________________________________________                                                       $____________          $____________
    _____________________________________________________________                                                       $____________          $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.       1,166.00
                                                                                                                        $____________          $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       3,474.00
                                                                                                                        $____________          $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00
                                                                                                                        $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________          $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00
                                                                                                                        $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________          $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________          $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________          $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________          $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00           + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           0.00
                                                                                                                        $____________          $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           3,474.00
                                                                                                                        $___________    +      $_____________        = $_____________
                                                                                                                                                                          3,474.00

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                   11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                          3,474.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                         12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.
       Yes. Explain:
                 24-43943-tjt                  Doc 9            Filed 04/23/24                     Entered 04/23/24 20:34:16                     Page 30 of 43
  Official Form 106I                                                               Schedule I: Your Income                                                               page 2
  Fill in this information to identify your case:

                     Bria A Nobles
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Eastern District of Michigan
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                    expenses as of the following date:
                                                                                     (State)
                       24-43943                                                                                  ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                 ✔ No
                                                                                         Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                 Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’
                                                                                                                                                  No
                                                                                          _________________________                ________
   names.                                                                                                                                         Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                   500.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                      0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                     75.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form24-43943-tjt
                106J                    Doc 9         Filed 04/23/24      Entered
                                                            Schedule J: Your Expenses04/23/24 20:34:16                              Page 31 of 43      page 1
                   Bria A Nobles                                                                                  24-43943
 Debtor 1         _______________________________________________________                 Case number (if known)_____________________________________
                  First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                     $_____________________
                                                                                                                                      0.00
 5. Additional mortgage payments for your residence, such as home equity loans                               5.


 6. Utilities:

       6a.   Electricity, heat, natural gas                                                                  6a.     $_____________________
                                                                                                                                   450.00
       6b.   Water, sewer, garbage collection                                                                6b.     $_____________________
                                                                                                                                   100.00
       6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.     $_____________________
                                                                                                                                   240.00
       6d.   Other. Specify: _______________________________________________                                 6d.     $_____________________
                                                                                                                                      0.00
 7. Food and housekeeping supplies                                                                           7.      $_____________________
                                                                                                                                   500.00
 8. Childcare and children’s education costs                                                                 8.      $_____________________
                                                                                                                                      0.00
 9. Clothing, laundry, and dry cleaning                                                                      9.      $_____________________
                                                                                                                                   225.00
10.    Personal care products and services                                                                   10.     $_____________________
                                                                                                                                   200.00
11.    Medical and dental expenses                                                                           11.     $_____________________
                                                                                                                                   150.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                     $_____________________
                                                                                                                                   460.00
       Do not include car payments.                                                                          12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.     $_____________________
                                                                                                                                   150.00
14.    Charitable contributions and religious donations                                                      14.     $_____________________
                                                                                                                                      0.00
                                                                                                                                                   1
15.    Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                   15a.    $_____________________
                                                                                                                                      0.00
       15b. Health insurance                                                                                 15b.    $_____________________
                                                                                                                                      0.00
       15c. Vehicle insurance                                                                                15c.    $_____________________
                                                                                                                                   280.00
       15d. Other insurance. Specify:_______________________________________                                 15d.    $_____________________
                                                                                                                                      0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: ________________________________________________________                                     16.
                                                                                                                                     0.00
                                                                                                                     $_____________________

17.    Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.    $_____________________
                                                                                                                                   584.78
       17b. Car payments for Vehicle 2                                                                       17b.    $_____________________
                                                                                                                                      0.00
       17c. Other. Specify:_______________________________________________                                   17c.    $_____________________
                                                                                                                                      0.00
       17d. Other. Specify:_______________________________________________                                   17d.    $_____________________
                                                                                                                                      0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                      18.                     0.00
                                                                                                                     $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                        19.
                                                                                                                                      0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.    $_____________________
                                                                                                                                      0.00
       20b. Real estate taxes                                                                                20b.    $_____________________
                                                                                                                                      0.00
       20c. Property, homeowner’s, or renter’s insurance                                                     20c.    $_____________________
                                                                                                                                      0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.    $_____________________
                                                                                                                                      0.00
       20e. Homeowner’s association or condominium dues                                                      20e.    $_____________________
                                                                                                                                      0.00


      Official Form24-43943-tjt
                    106J                   Doc 9     Filed 04/23/24      Entered
                                                           Schedule J: Your Expenses04/23/24 20:34:16               Page 32 of 43         page 2
                  Bria A Nobles                                                                                        24-43943
Debtor 1         _______________________________________________________                       Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                  21.   +$_____________________
______________________________________________________________________________________                                  +$_____________________
______________________________________________________________________________________                                  +$_____________________
22.     Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                             22a.                 3,914.78
                                                                                                                         $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

       and 22b. The result is your monthly expenses.                                                            22c.                 3,914.78
                                                                                                                         $_____________________


23. Calculate your monthly net income.
                                                                                                                                      3,474.00
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22c above.                                                     23b.                 3,914.78
                                                                                                                        – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                  -440.78
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.       Explain here:




      Official Form24-43943-tjt
                    106J                 Doc 9        Filed 04/23/24      Entered
                                                            Schedule J: Your Expenses04/23/24 20:34:16                  Page 33 of 43          page 3
Fill in this information to identify your case:

Debtor 1           Bria A Nobles
                  __________________________________________________________________
                    First Name               Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name              Last Name


                                        ______________________
United States Bankruptcy Court for the:Eastern District of Michigan District of __________
                                                                                  (State)
Case number         24-43943
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                            amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                       12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                 Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Bria A Nobles
          ______________________________________________             _____________________________
         Signature of Debtor 1                                           Signature of Debtor 2


              04/23/2024
         Date _________________                                          Date _________________
                MM /    DD       /   YYYY                                         MM / DD /   YYYY




  Official Form 106Dec
                24-43943-tjt                Doc 9              Declaration
                                                           Filed 04/23/24  About an Individual04/23/24
                                                                                 Entered       Debtor’s Schedules
                                                                                                          20:34:16                Page 34 of 43
 Fill in this information to identify your case:

                    Bria A Nobles
 Debtor 1
                    First Name         Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name        Middle Name           Last Name



 United States Bankruptcy Court for the: Eastern District of Michigan

 Case number        24-43943
 (if know)                                                                                                                                                       Check if this is
                                                                                                                                                                 an amended
                                                                                                                                                                 filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                         Debtor 1                                                 Debtor 2

                                                                         Sources of income         Gross income                   Sources of income         Gross income
                                                                         Check all that apply      (before deductions and         Check all that apply      (before deductions and
                                                                                                   exclusions)                                              exclusions)

         From January 1 of current year until the date                      Wages, commissions,                                      Wages, commissions,
         you filed for bankruptcy:                                          bonuses, tips      $ 16,740.00                           bonuses, tips      $
                                                                            Operating a business                                     Operating a business


         For last calendar year:                                            Wages, commissions,                                      Wages, commissions,
                                                                            bonuses, tips      $ 56,448.00                           bonuses, tips      $
         (January 1 to December 31, 2023
                                                                            Operating a business                                     Operating a business


         For the calendar year before that:                                 Wages, commissions,                                      Wages, commissions,
                                                                            bonuses, tips      $ 37,227.00                           bonuses, tips      $
         (January 1 to December 31, 2022
                                                                            Operating a business                                     Operating a business


 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
    and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
    Debtor 1.
                    24-43943-tjt            Doc 9          Filed 04/23/24                Entered 04/23/24 20:34:16                           Page 35 of 43
Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 6
Debtor          Bria A Nobles                                                                                                    Case number(if known) 24-43943
               First Name       Middle Name   Last Name




   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                             Nature of the case                      Court or agency                                    Status of the
                                                                                                                                                        case

    Case title:                                                                                                                                             Pending
    One Detroit Credit Union v. Bria                                                                 34th District Court                                    On appeal
    Nobles                                                                                           Court Name
    Case number: 230765GC                                                                                                                                   Concluded
                                                                                                     11131 Wayne Road
                                                                                                     Number
                                                                                                                Street
                                                                                                     Romulus MI          48174
                                                                                                     City        State   ZIP Code




                    24-43943-tjt              Doc 9       Filed 04/23/24                Entered 04/23/24 20:34:16                        Page 36 of 43
Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2 of 6
Debtor          Bria A Nobles                                                                                                    Case number(if known) 24-43943
               First Name       Middle Name   Last Name




    Case title:                                                                                                                                             Pending
    Forest Health Medical Center v.                                                                  34th District Court                                    On appeal
    Bria Nobles                                                                                      Court Name
    Case number:                                                                                                                                            Concluded
                                                                                                     11131 Wayne Road
                                                                                                     Number
                                                                                                                Street
                                                                                                     Romulus MI          48174
                                                                                                     City        State   ZIP Code

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.




                    24-43943-tjt              Doc 9       Filed 04/23/24                Entered 04/23/24 20:34:16                        Page 37 of 43
Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3 of 6
Debtor            Bria A Nobles                                                                                                      Case number(if known) 24-43943
                 First Name         Middle Name   Last Name




                                                                    Description and value of any property transferred                      Date payment or Amount of
                                                                                                                                           transfer was    payment
                                                                                                                                           made
                                                                                                                                             04/05/2024     $ 0.00
          Summit Financial Education                                                                                                                        $
          Person Who Was Paid
          Attn: Customer Service
          Number
                         Street
          4800 E Flower St

          Tucson AZ               85712
          City         State      ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You


17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:          Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:          Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
                      24-43943-tjt                Doc 9       Filed 04/23/24                Entered 04/23/24 20:34:16                        Page 38 of 43
Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4 of 6
Debtor          Bria A Nobles                                                                                                    Case number(if known) 24-43943
               First Name       Middle Name   Last Name




    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:        Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




                    24-43943-tjt              Doc 9       Filed 04/23/24                Entered 04/23/24 20:34:16                        Page 39 of 43
Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5 of 6
Debtor         Bria A Nobles                                                                                                      Case number(if known) 24-43943
              First Name         Middle Name   Last Name




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Bria A Nobles
         Signature of Debtor 1                                                 Signature of Debtor 2

         Date 04/23/2024                                                       Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                 Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                             Declaration, and Signature (Official Form 119).




                    24-43943-tjt               Doc 9       Filed 04/23/24                Entered 04/23/24 20:34:16                        Page 40 of 43
Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6 of 6
                                                              UNITED STATES BANKRUPTCY COURT FOR
                                                               THE EASTERN DISTRICT OF MICHIGAN




In Re:                                                                                                   Case No.                      24-43943
                                                                                                          Chapter                      7
                           Debtor(s).                                                                     Hon.
Bria Nobles                                               /

                                                           STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                  PURSUANT TO F.R. BANKR.P. 2016(b)

The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:

  1.     The undersigned is the attorney for the Debtor(s) in this case.
  2.     The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
          ✔         FLAT FEE
         A.        For legal services rendered in contemplation of and in connection with this case, exclusive of the filing fee
                   paid ....................................................................................................................... 1,657.00
         B.        Prior to filing this statement, received................................................................. 0.00
         C.        The unpaid balance due and payable is.............................................................. 1,657.00
         [ ]        RETAINER
         A.        Amount of retainer received .................................................................................
         B.        The undersigned shall bill against the retainer at an hourly rate of $                                              [Or attach firm hourly rate schedule.] Debtor(s)
                   have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.
  3.     $ 0.00                   of the filing fee has been paid.
  4.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
         that do not apply.]
         A.        Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                     bankruptcy;
         B.        Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         C.        Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         D.        Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
         E.        Reaffirmations;
         F.        Redemptions;
         G.        Other: The unpaid balance due above is not for pre-filing services, but purely for post-filing services.


                   In exchange for the pre-filing portion of the fee, if any, I agreed to render the following services:

                   Conducting an analysis of Debtor’s financial situation, and rendering advice to the Debtor in determining
                   whether to file a petition for Bankruptcy relief; meeting and consulting with Debtor as needed; taking calls from
                   Debtor’s creditors and confirming representation; detailed analysis of the debtor’s questionnaire and financial
                   documents; preparation and filing of a Chapter 7 Voluntary Petition, Statement About Social Security Numbers,
                   Pre-filing Credit Counseling Briefing Certificate and List of Creditors, and collecting all required documents. The
                   firm may also initially prepare a draft of some or all of bankruptcy schedules (as needed), statement of financial
                   affairs and means test in order to make sure the Debtor qualifies for a Chapter 7 bankruptcy.


                   In exchange for the post-filing portion of the fee ( the “Balance Due”), I agree to render the following services:


               24-43943-tjt             Doc 9             Filed 04/23/24                      Entered 04/23/24 20:34:16                                    Page 41 of 43
               •      Preparing and sending Debtor the draft of the schedules, statement of financial affairs, means test and
                      other documents still needed to complete the filing;
               •      Reviewing them with Debtor and making any changes the Debtor requests or that are warranted;
               •      Sending Debtor the final version for Debtor to review and sign;
               •      Reviewing Debtor’s signatures to make sure they are complete;
               •      Filing of the Statement of Financial Affairs and Schedules and means test;
               •      Collecting the filing fees into the firms IOLTA trust account; accounting for same and forwarding the first
                      $338 to the court; Calling Debtor about any missed filing fee payment and advising on important of catching
                      it up; attending any show cause hearings for missed filing fee payments;
               •      Review, processing and execution of any reaffirmation agreements; and attending hearings on same;
               •      Preparing for and attending Section 341 Meeting of Creditors; preparing and attending any postponed or
                      follow up 341 hearings;
               •      Calling Debtor before the 341 to prepare Debtor for same, and answer any questions that Debtor may
                      have;
               •      Preparing for and attending any postponed additional 341 meetings.
               •      Sending to Trustee any and all documents and/or information requested after any 341 hearing;
               •      Follow through with case administration and monitoring;
               •      Follow-up with client to ensure Debtor Education course is timely completed and filed;
               •      Reviewing and advising for motions for stay relief
               •      Reviewing and responding to Trustee and creditor requests for information and documents, including
                      informal requests and formal 2004 orders, as well as attending 2004 examinations
               •      Forwarding the Debtor’s pay stubs, bank statements, tax returns, recorded mortgage, recorded deed,
                      vehicle titles and other debtor documents to the Trustee;
               •      Conduct a post‐discharge review of all 3 of Debtor’s credit report to ensure accurate reporting; and advising
                      Debtor of same.
               •      Responding to creditor, trustee and client inquiries during pendency of case;
               •      Monitoring docket, and responding to creditor, trustee and client inquiries during pendency of case
               •      Drafting and prosecuting motion to reinstate case, if necessary
               •      Drafting or responding to claims or objections to claims
               •      Drafting or responding to Trustee objection to exemptions
               •      Drafting or responding to Trustee motions to dismiss, motions for turnover, or motions to compel
               •      Preparing for and responding to UST audit or requests for information
               •      Reviewing and advising client concerning reaffirmation requests
               •      Analyzing and advising client concerning redemption issues
               •      Analyzing and advising client concerning student loan issues, if any
               •      Analyzing and advising client regarding creditor violations
               •      Preparing for and attending hearing on any contested matter
               •      Preparing for and defending client in 2004 examination
               •      Preparing and responding to 707 motions and defending client at hearing.

5.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
               Fee does not include representation in any adversarial proceedings. This fee does NOT include any out-of-pocket
               expenses that were paid on behalf of the Debtor(s).

               Also not included in this fee is the Firm's effort to retrieve any monies that may have been garnished from the
               debtor. For that, the law firm charges a contingency fee of 50% of whatever funds are retrieved. In return, Firm
               agrees to make whatever effort necessary to retrieve those funds including, but not limited to, contacting
               creditor, sending demand letter, and filing an adversary proceeding against the creditor if they delay return of
               such funds.
6.   The source of payments to the undersigned was from:
     A.        [ ✔]       Debtor(s)’ earnings, wages, compensation for services performed
     B.        [ ]        Other (describe, including the identity of payor)
7.   The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
     corporation, any compensation paid or to be paid except as follows:




          24-43943-tjt         Doc 9       Filed 04/23/24            Entered 04/23/24 20:34:16               Page 42 of 43
Dated:
         04/23/2024                                 /s/ Terrance Hiller, P55699
                                                    Attorney for the Debtor(s)

Agreed:
          /s/ Bria A Nobles

         Debtor                                     Debtor




            24-43943-tjt   Doc 9   Filed 04/23/24     Entered 04/23/24 20:34:16   Page 43 of 43
